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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KEITH SNYDER and SUSAN
MANSANAREZ, individually and on behalf of
all others similarly situated,                          CONSOLIDATED NO. 1:14-cv-08461

                       Plaintiffs,                      Class Action
       v.
                                                        Jury Trial Demand
OCWEN LOAN SERVICING, LLC,
                                                        Honorable Matthew F. Kennelly
                       Defendant.

TRACEE A. BEECROFT,
                                                        Case No.: 1:16−cv−08677
                       Plaintiff,

       v.

OCWEN LOAN SERVICING, LLC,

                       Defendant.



       PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR
          PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

       Plaintiffs submit this brief in response to the Court’s September 26 order directing that

the parties explain whether the Settlement Class List of 1,685,757 unique cell numbers

represents all of the numbers to which Plaintiffs allege that improper calls were made, and if not,

why not. Dkt. No. 261.

       The answer is no; the Settlement Class List does not include every unique cell number to

which Plaintiffs allege Ocwen made improper calls. The Settlement Class List includes every

automated Aspect call that Plaintiffs knew about on May 16, 2017, when they filed their motion

for class certification. Dkt. No. 216. However, it turns out that not all Aspect calls had been




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disclosed at that time. Plaintiffs now understand that Ocwen’s productions of Aspect call data

did not include calls dialed manually on its Aspect system. In the absence of confidence that all

Aspect calls were included in Ocwen’s productions, Plaintiffs believed it prudent to negotiate for

an exact number of unique cell numbers that were called through Aspect.

       Accordingly, the proposed settlement class, as well as the Class-wide release, would only

encompass the 1,685,757 unique cell phone numbers provided on the Settlement Class List

attached as Exhibit G.

       RESPECTFULLY SUBMITTED AND DATED this 27th day of September, 2017.

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                                 CERTIFICATE OF SERVICE

       I, Beth E. Terrell, hereby certify that on September 27, 2017, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the following:

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   DATED this 27th day of September, 2017.

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